          Case 2:19-cv-01568-SS Document 7-1 Filed 03/04/19 Page 1 of 1 Page ID #:82
NAME, ADDRESS & TELEPHONE NUMBER OF ATTORNEY(S) OR PRO PER




ATTORNEY(S) FOR:

                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NUMBER:




                                                    Plaintiff(s)
                               v.
                                                                      STATEMENT OF CONSENT TO PROCEED
                                                                  BEFORE A UNITED STATES MAGISTRATE JUDGE
                                                                (For use in Direct Assignment of Civil Cases to Magistrate
                                                  Defendant(s).                   Judges Program Only)

       (THIS FORM SHALL BE USED ONLY FOR CASES IN WHICH A MAGISTRATE JUDGE IS INITIALLY
                            ASSIGNED PURSUANT TO LOCAL RULE 73-2.)

In accordance with General Order 12-02 and Local Rule 73-2 the above-captioned civil matter has been randomly
assigned to Magistrate Judge                                                            . All parties to the above-captioned civil
matter are to select one of the following two options and file this document with the Clerk's Office.

        The party or parties listed below to the above-captioned civil matter consent pursuant to the provisions of 28
        U.S.C. § 636(C) and F.R.Civ.P. 73(b), to have the assigned Magistrate Judge conduct all further proceedings in
        this case, including trial and entry of final judgment.

        Any appeal from a judgment of the assigned Magistrate Judge shall be taken to the United States Court of Appeals
        in the same manner as an appeal from any other judgment of the District Court in accordance with 28 U.S.C.
        § 636(c)(3).
        The party or parties listed below to the above-captioned civil matter do not consent to proceed before the
        assigned Magistrate Judge.

        The party or parties listed below acknowledge that they are free to withhold consent without adverse substantive
        consequences.

Name of Counsel (OR Party if Pro Per)               Signature and date                   Counsel for (Name of Party or Parties)




NOTICE TO COUNSEL FROM CLERK:
All parties having consented to proceed before the assigned Magistrate Judge, this case will remain assigned to United
States Magistrate Judge                                                           for all further proceedings.


CV-11C (05/14)     STATEMENT OF CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE
                          (For use in Direct Assignment of Civil Cases to Magistrate Judges Program only)
